                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                             3:92-CR-00034-RJC
USA                                           )
                                              )
    v.                                        )               ORDER
                                              )
ALVIN B. TRUESDALE (1)                        )
                                              )

         THIS MATTER is before the Court upon the defendant’s motion for

clarification, (Doc. No. 137), and the government’s motion, (Doc. No. 142), to extend

the deadline for responding to the defendant’s Motion to Reduce Sentence to Time

Served Pursuant to the First Step Act of 2018, (Doc. No. 132).

         The Court finds that the government has stated sufficient cause to extend the

deadline in this case. Additionally, the government intends to address the

defendant’s claims under Section 404 of the Act and for compassionate release.

         IT IS, THEREFORE, ORDERED that the defendant’s motion for

clarification is MOOT.

         IT IS FURTHER ORDERED that government’s motion is GRANTED, and

the government shall file any response on or before December 14, 2021.

         The Clerk is directed to certify copies of this order to the defendant and to the

United States Attorney.

 Signed: December 1, 2021




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